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Exhibit A

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HCDistrictclerk.com GREATLAND INVESTMENT INC (D/B/A SOUTHWEST 4/4/2019
PLAZA) vs. MT HAWLEY INSURANCE COMPANY

Cause: 201916063 CDI: 7 Court: 133

APPEALS
No Appeals found.

COST STATMENTS
No Cost Statments found.

TRANSFERS
No Transfers found.

POST TRIAL WRITS
No Post Trial Writs found.

ABSTRACTS
No Abstracts found.

SETTINGS
No Settings found.

NOTICES
No Notices found.

SUMMARY

CASE DETAILS CURRENT PRESIDING JUDGE

File Date 3)'112019 Court 133“*

Case (Cause) Locafion Address 201 cARoLINE (Floor: 11)

. . . HOUSTON, 'l`X 77002

Case (Cause) Status Actlve - Clvll Phone:7l33686200

Case (Cause) Type Debt/Contract - Consumer/DTPA JudgeName JACLENEL MCFARLAND

Next/Last Settmg Date NFA Coul_t Type Cl.vi]

Jury Fee Paid Date 3»'5!20|9
ACTIVE PARTIES
Name Type Post Attomey

Jdgm
GREATLAND INVESTMENT INC (D/B/A PLAINTIFF - CIVIL WILSON,
SOUTHWEST PLAZA) CHAD TROY
MT HAWLEY INSURANCE COMPANY DEFENDANT - CIVIL WINSLETT,
GREG K.
SOUTHWEST PLAZA PLAINTIFF - ClVIL WlLSON,
CHAD TROY
MAYFIELD, KEVIN WILSON DEFENDANT - ClVlL
4907 MEADOWGLEN DRIVE, PEARLAND, TX 77584-7668
REGISTERED AGENT

https://Www.hcdistrictclerk.com/edocS/public/CaseDetailsPrinting.aspx?Get=ijELS+StvL. .. 4/4/20 l 9

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MT HAWLEY INSURANCE COMPANY THROUGH
ITS REGISTERED AGENT

lNACTIVE PARTIES
No inactive parties found.

JUDGMENT/EVENTS
Date Description Order Post Pgs Volume Filing Person
Signed Jdgm /Page Attomey Filing
4!3!20]9 ANSWER ORIGINAL PETITION 0 WINSLETT, GREG K. MT HAWLEY
INSURANCE
COMPANY
3)'|¢'2019 JURY FEE PAID (TRCP 216) 0
3!]."2019 ORIGINAL PETITION 0 WILSON, CHAD SOUTHWEST PLAZA
TROY
3!1¢'20|9 ORIGINAL PETlTlON 0 WILSON, CHAD GREATLAND
TROY INVESTMENT INC
(D/B/A SOUTHWEST
PLAZA)
SERVICES
Type Status Instrument Person Requested Issued Served Returned Received Tracking Deliver
To
CITATION SERVICE ORlGlNAL MT HAWLEY 3)’|!2019 3!71'20|9 3!|8!20]9 3/29/20!9 73599552 ClV
(NON- RETURNJEXECUTED PETlTlON lNSURANCE AGCV-
RES|DENT) COMPANY ClVlLlAN
THROUGH SERVICE
l'I`S AGENCY
REGlSTERED
AGENT
9025 NORTH LINDBERGH DRIVE PEORIA IL 61615
ClTATlON SERVICE lSSUED/lN ORIGINAL MAYFIELD, 3/|/2019 3/7/2019 73599555 ClV
POSSESS[ON OF PETITION KEVIN AGCY-
SERVING AGENCY WILSON ClVlLlAN
SERVICE
AGENCY
4907 MEADOWGLEN DRIVE PEARLAND TX 77584
DOCUMENTS
Number Document Post Date Pgs
Jdgm
84635459 Mt. Hawley Insuance Company's Origina| Answer and Affim\ative Defenses 04/03/2019 4
84566244 Citation (Non-Resident) 03/29/2019 2
8425639| Civil Process Pick-Up Fonn 03/07/2019 l
84163992 Plaintiff‘s Original Petiton Jury Demand and Request for Disclosure 03/01/2019 18
~> 84163995 Civil Case Inf`on'nation Sheet 03/01/2019 l
-> 84163994 Civil Process Request Fonn 03/01/2019 2
-> 84 l 63993 Filing Letter 03/0|/20|9 l

https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=ijELS+StvL... 414/2019

 

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EXhibit B-l

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3/5/2019 1011 5 AM
Man`lyn Burgess - District Clerk Harris County

2019-16063 / Court: 133 E"ve'°§§:`¢`ll§§§§"u‘;i§

Filed: 3/1/2019 11:59 AM

 

CAUSE NO.
GREATLAND INVESTMENT, INC. D/B/A § IN THE DISTRICT COURT
SOUTHWEST PLAZA, §
§
P/aintij, §
§ HARRIS COUNTY, TEXAS
V. § ` .'
§
MT. HAWLEY INSURANCE COMPANY §
AND KEVIN WILSON MAYFIELD, §
§ " 'D’ISTRICT COURT
Defe)zdant, §§

 

PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND,
AND REQUEST FOR DISCLOSURE
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TO THE HONORABLE JUDGE OF SAlD COURT; <)>©
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COMES NOW Greatland Investment, Inc. d[:§_/§Southwest Plaza, PlaintiFt` herein, and files

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,X '
Plaintil`l"s Original Petition, Jury Demand,\q§d Request for Disclosure, complaining of Mt.

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Hawley Insurance Company (“Mt. Hawley"’) and Kevin Wilson Mayf`leld (“Mayfxeld” or

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collectively “Defendants”) and for cause of action, Plaintit`f` respectfully shows the following:
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DC§COVERY CONTROL PLAN

1 . Plaintiff intends to co§duct discovery under Level 3, Texas Rules of Civil Procedure 190 4

and 169. XC`)\©

»@j PARTIES

2. Plaintiff§§ireatland Investment, Inc. d/bfa Southwest Plaza, resides in Harn's County,

Tez_cas.
3. Defendant, Mt. Hawley Insurance Company, is an Illinois insurance company, engaged in

the business of insurance in the State of Texas. Plaintiff requests service of citation upon

Mr. Hawley Insurance Company, through its registered agent for service: Attn: Legal

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l)epartmentl 9025 North Lindbergh Drive, Peoria Illinois 61615-1431. Plaintit`f

requests service at this time.
Defendant, Kevin Wilson Mayt'ield, is an independent insurance adjuster actively adjusting
insurance claims in the State of Texas. Plaintiff requests service of citation_upon Kevin
Wilson Mayfield, through the address on tile with the Texas Depart;ne§'fit of Insurance:
4907 Meadowglen Drivea Pearland, Texas 77584-7668. Plaintiff`fequests service at this
time.
J U.RISDICTION

The Court has jurisdiction over Mt. Hawley Insuran @fompany because this Defendant
engages in the business of insurance in the Staw--_o§..Texas, and the causes of action arise
out of Defendant’s business activities in the st_z_`rte, including those in Harris County, Texas,
with reference to this specific case. ad
The Court has jurisdiction over Kevin"`\¥ilson Mayt`leld because this Defendant engages in
the business of adjusting insura@ce claims in the State of Texas, and the causes of action
arise out of Def`endant’s business activities in the state, including those in Harris County,
Texas, with referencecti§&his specific case.

VENUE
Venue is propc;;_rj in Harris County, Texas, because the insured’s commercial property is
located m\Harns County, Texas, and all or a substantial part of the events giving n`se to
thi iiwsun occurred in Hams county, Texas. TEX. civ. PRAC. & REM. CoDE §

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FACTS
Plaintiff asserts claims for breach of contract, negligence, gross negligence, violations of
sections 541 and 542 of the Texas Insurance Code, and violations of the Texas DTPA.
Plaintiff owns an Mt. Hawley Insurance Company, business insurance policy, number
MCP0166542 (“the Policy”), which was issued by Mt. Hawley Insuranc§"€ompany. At
all relevant times, Plaintiff owned the insured premises located at/`h$i§l)é-SMO Southwest
Freeway Houston, Texas 77036 (“the Property”).
Mt. Hawley Insurance Company or its agent sold the Pp__lrev, insuring the Property, to
Plaintit`t`. Mt. Hawley Insurance Company represented&pi’laintiff that the Policy included
hail and windstorm coverage for damage to Plaintil§.’s Property.
On or about August 25, 2017, the Property s§szained extensive damage resulting from a
severe storm that passed through the Hoigs%ni'liarris County, Texas area.
ln the aftermath of the hail and wi:\"d`stonn Plaintiff submitted a claim to Mt. Hawley
Insurance Company against th<:\.§ol:icy for damage to the Property, Mt. Hawley Insurance
Company assigned claim number 00444158 to Plaintit`t"s claim.
Plaintiff asked Mt. Hawley Insurance Company to cover the cost of damage to the Property
pursuant to the Pnl_f<;:y. l
Mt. Hawley insurance Company hired or assigned its agent, Kevin Wilson Mayf`leld, to
inspect ahtl:adjust the claim. Mayt`leld conducted an inspection on or about August 16,
ZQ-I'B`\.-'_' Maytield’s findings were that the claim was not covered due to wear and tear.

Plaintit`f was left without adequate funds to make repairs on the entirety of their claim.

Mt. Hawley Insurance Company, through its agent, Mayti eld, conducted a substandard and

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improper inspection of the Property, which grossly undervalued the cost of repairs in its
estimate and yielded an unrealistic amount to underpay coverage

Mt. Hawley Insurance Company and Mayfreld have ultimately refused full coverage which
includes, but is not limited to, replacement of the roof and additional interior-damage The
third-party inspector hired to review the damage to the Property found damage to both the
main building single ply membrane and modified bitumen roofs. Trbaddition, the third-
party inspector found damage to curb flashings, flashing, pitch pan, and gravity roof
ventilator that were completely absent from Mayfield’s estimate The storm extensive and
obvious windstorm and hail damage including, bu@°cz)c: limited to, the roofs, vents,
flashings, and sheetrock damages The storm e§p"lpciomised the integrity of the roof
allowing water to enter into the suites on the pi*eperty.

The damage to Plaintiff’s Property is cur)\e§tiy estimated at $488,323.87.

Mayfleld had a vested interest in ugdewaluing the claims assigned to him by Mt. Hawley
Insurance Company in order to.§_rarntain his employment The disparity in the number of
damaged items in his reporl"'compared to that of the third-party inspector’s as well as the
difference in valuatior__i:is evidence of on the part of Mayfreld..

Furthermore, May@ld> was aware of Plaintiff’ s policy deductible prior to inspecting the
Property. M§H§eld had advanced knowledge of the damages he needed to document in
order to jb§ble to deny the claim.

May§% misrepresented the actual amount of damage Plaintiff’s Property sustained in

addition to how much it would cost to repair the damage Mayfield made these

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misrepresentations as a licensed Texas adjuster with the hope that Plaintiff would rely on
his expertise and accept the bad faith estimate as a true representation of the damages
After reviewing Plaintiff’s Policy, Mayfield misrepresented that the damage was caused
by non-covered perils. Mayfield used his expertise to fabricate plausible explanations for
why visible damage to Plaintiff’s Property would not be covered undenth§pdlicy.
As stated above, Mt. Hawley Insurance Company and Mayfi§ld improperly and
unreasonably adjusted Plaintiff’s claim. Without limitatiogi;"-Mt. Hawley Insurance
Company and Mayfield misrepresented the cause of, scop lo , and cost to repair damages
to Plaintiff' s Property, as well as the amount of insurarigzjcoverage for Plaintif`f' s claim or
loss under the Policy.
Mt. Hawley Insurance Company and Mayfield'made these and other false representations
to Plaintiff, either knowingly or recklessly as a positive assertion, without knowledge of
the truth. Mt. Hawley Insurance Cgm\§ny and Mayfield made these false representations
with the intent that Plaintiff ac%`r(i3 accordance with the misrepresentations regarding the
grossly deficient damage and repair estimates prepared Mayfield.
Plaintiff relied on Mt:j-Hawley Insurance Company and Mayfield’s misrepresentations,
including but no©li@\it\ed to those regarding coverage, the cause of`, scope of, and cost to
repair the dar_rr_ig`ge to Plaintiff’s Property. Plaintiff’s damages are the result of Plaintiff’ s

reliance:;__¢ii;t`hese misrepresentations

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Upon receipt of the inspection and estimate reports from Mayfreld, Mt. Hawley Insurance
Company failed to assess the claim thoroughly Based upon Mayfield’s grossly
unreasonable, intentional, and reckless failure to investigate the claim properly prior to
underpaying coverage, Mt. Hawley Insurance Company failed to provide coverage due
under the Policy, and Plaintiff suffered damages 3

Because Mt. Hawley Insurance Company and Mayfield failed to“i'provide coverage for
Plaintiff’ s insurance claim, Plaintiff has been unable to complete-any substantive repairs to
the Property. This has caused additional damage to Plaintiff-s Property.

Furthermore, Mt. Hawley Insurance Company and f.'Mayfreld failed to perform their
contractual duties to Plaintiff under the terms ~o_f the Policy, Specifically, Mayfield
performed an unreasonable and sub standard inspection that allowed Mt. Hawley Insurance
Company to refuse to pay full proceeds §§;under the Policy, although due demand was
made for an amount sufficient to cq;\'ief the damaged Property, and all conditions precedent
to recover upon the Policy were§>a?ried out by Plaintiff.

Mt. Hawley Insurance Company and Mayfield’s misrepresentations unreasonable delays,
and continued denials_____t_;gnstitute a breach of the statutory obligations under Chapters 541
and 542 of the T_ex@ Insurance Code. Thus, the breach of the statutory duties constitutes
the foundatiori-J(;f a breach of the insurance contract between Defendant and Plaintiff.

Mt. Ha\gfe§yf;fnsurance Company and Mayfield’s conduct constitute a violation of the Texas

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lnsur‘a`_'nee Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a) (l). Mt.

Hawley Insurance Company and Mayfield have failed to settle Plaintiff’s claim in a fair

manner, although they were aware of their liability to Plaintiff under the Policy.

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Specifically, Mt. Hawley lnsurance Company and Mayfield have failed to, in an honest
and fair manner, balance their own interests in maximizing gains and limiting
disbursements, with the interests of Plaintiff by failing to timely pay Plaintiff coverage due
under the Policy.
Mt. Hawley Insurance Company and Mayfield’s conduct constitute a viofa;t'_ion of the Texas
Insurance Code, Unfair Settlement Practices TEX. INS. CODE §54¥960(a) (2) (A). Mt.
Hawley Insurance Company and Mayfield failed to provided -"Plaintiff a reasonable
explanation for underpayment of the claim.
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Additional|y, after Mt. Hawley Insurance Company re<ej~vj’ed statutory demand on or about
December 3, 2018, Mt. Hawley Insurance Compa@,has not communicated that any future
settlements or payments would be forthcoming-to'pay for the entire loss covered under the
Policy, nor did it provide any explanatiorr_-fo:failing to settle Plaintiff`s claim properly

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Mt. Hawley Insurance Company and-Hayfield’s conduct constitute a violation of the Texas
Insurance Code, Unfair Settlem%t`l;ractices. TEX. INS. CODE §541.060(a) (4). Mayfield
performed a biased and inte§"§t`onally substandard inspection designed to allow Mt. Hawley
Insurance Company to re use to provide full coverage to Plaintiff under the Policy,
Specifically, Mt Hawley Insurance Company and Mayfield performed an outcome-
oriented investigation of Plaintiff’s claims, which resulted in a biased, unfair, and
inequitat§l’:e_evaluation of Plaintiff’ s losses on the Property.
l\/ft.- ,lj[§i__iwley Insurance Company’s conduct constitutes a violation of the Texas lnsurance

Code, Prompt Payment of Claims. TEX. INS. CODE §542.055. Due to Mayfield subpar

inspection, Mt. Hawley Insurance Company failed to reasonably accept or deny Plaintiff’s

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full and entire claim within the statutorily mandated time after receiving all necessary
information
Mt. Hawley Insurance Company’s conduct constitutes a violation of the Texas Insurance
Code, Prompt Payment of Claims. TEX. INS. CODE §542.056. Due to Mayfield’s
intentional undervaluation of Plaintiff’s claims, Mt. Hawley Insurance_€§_:§:/;iripany failed to
meet its obligations under the Texas Insurance Code regarding timely payment of the
claim. Specifically, Mayfield’s understatement of the damage fig-the Property caused Mt.
Hawley Insurance Company to delay full payment of Plaintiff.s claim longer than allowed,
and Plaintiff has not received rightful payment for Pla`fnjfff’ s claim
Mt. Hawley Insurance Company and Mayfield’s wrongful acts and omissions have forced
Plaintiff to retain the professional services ofthe attorneys and law firm representing him
with respect to these causes of action. l l 3
CAUSES OF ACT_ . AGAINST DEFENDANT
MT. HAWLEHNSUMNCE COMPANY
All paragraphs from the fact section of this petition are hereby incorporated into this
section.
BREACH OF CONTRACT
Mt. Hawley Insurafice Company is liable to Plaintiff for intentional violations of the Texas
Insurance @de,- and intentional breach of the common law duty of good faith and fair
dealing _'{"Fl;t-`follows, then, that the breach of the statutory duties constitutes the foundation

ofari`intentional breach of the insurance contract between Mt. Hawley Insurance Company

and Plaintiff.

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Mt. Hawley Insurance Company’s failure and;’or refusal to pay adequate coverage as
obligated under the Policy, and under the laws of the State of Texas, constitutes a breach
of Mt. Hawley Insurance Company’s insurance contract with Plaintiff.

NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:_--
UNFAIR SETTLEMENT PRACTICES ` '

Mt. Hawley Insurance Company’s conduct constitutes multiple viol;ti»ons of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS. CDQE §541.060(a). All
violations under this article are actionable by TEX. lNS. CODE'§SM. 151.

Mt. Hawley Insurance Company’s unfair settlement practice of misrepresenting to Plaintiff
material facts relating to coverage constitutes an ®§air method of competition and a
deceptive actor practice in the business of insurance TEX. INS. CODE §541.060(a)(1)_

Mt. Hawley lnsurance Company’s unfair settlement practice of failing to attempt in good
faith to make a prompt, fair, and equitabl&settlement of the claim, even though Mt. Hawley
Insurance Company’s liability und§r\the Policy was reasonably clear, constitutes an unfair
method of competition and a d§ceptive act or practice in the business of insurance TEX.
INS. CODE §541.060(3)”`(2) (A)_

Mt. Hawley Insuran@ébmpany’s unfair settlement practice of failing to provide Plaintiff
a prompt and reasonable explanation of the basis in the Policy, in relation to the facts or
applicable la;w, for underpayment and denial of the claim, constitutes an unfair method of
competii;dn and a deceptive act or practice in the business of insurance TEX. INS. CODE
§5#;`.-060(.3) (3).

Mt. Hawley Insurance Company’s unfair settlement practice of refusing to pay Plaintiff’s
full claim without conducting a reasonable investigation constitutes an unfair method of

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competition and a deceptive actor practice in the business of insurance TEX. INS. CODE
§541.060(a) (7).

NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
THE PROMPT PAYMENT OF CLAIMS

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Mt. Hawley Insurance Company’s conduct constitutes multiple violatioon§bf the Texas

Insurance Code, Prompt Payment of Claims. All violations made @r this article are
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Mt. Hawley Insurance Company’s delay in paying Plaintiff’s cfa/‘r)/m following receipt of all

actionable under TEX. INS. CODE §542.060.

items, statements, and forms reasonably requested and reg`)`.`i§ired, for longer than the amount
of time provided, constitutes a non-prompt paymnfgof the claim. TEX. INS. CODE
§542.058.

BREACH OF THE DUTY OF GOQ_B:N-_FA[TH AND FAIR DEALlNG
Mt. Hawley Insurance Company’s condi¥ct constitutes a breach of the common law duty
of good faith and fair dealing owed_.`.,`to an insured in insurance contracts
Mt. Hawley lnsurance Compa y’s failure to adequately and reasonably investigate and
evaluate Plaintiff’s clairn, even though Mt. Hawley Insurance Company knew or should
have known by the exercise of reasonable diligence that liability was reasonably clear,
constitutes a breach of the duty of good faith and fair dealing

f DTPA VIOLATIONS

Mt. Hat;;ley Insurance Company’s conduct constitutes multiple violations of the Texas
DXeptive Trade Practices Act (“DTPA”), TEX. BUS. & COM. CODE 17.41_63. Plaintiff
is a consumer of goods and services provided by Mt. Hawley Insurance Company pursuant

to the DTPA. Plaintiff has met all conditions precedent to bring this cause of action against

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Mt. Hawley Insurance Company. Specifically, Mt. Hawley Insurance Company’s

violations of the DTPA include, without limitation, the following matters:

A.

By its acts, omissions, failures, and conduct, Mt. Hawley Insurance Company has
violated sections l7.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. Mt.
Hawley Insurance Company’s violations include, (l) unreasona@ delays in the
investigation, adjustment, and resolution of Plaintiff’s clair`frril (2) failure to give
Plaintiff the benefit of the doubt, and (3) failure to pair for the proper repair of
Plaintiff’s property when liability has become llr-easonably clear, which gives
Plaintiff the right to recover under section l7.46§53(2)_

Mt. Hawley Insurance Company represer@}zf to Plaintiff that the Policy and Mt.
Hawley Insurance Company’s adjusting-agent and investigative services had

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characteristics or benefits they did not possess, which gives Plaintiff the right to
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recover under section l7.46@H5) of the DTPA.

Mt. Hawley Insurance C%rnpany represented to Plaintiff that Mt. Hawley Insurance

Company’s Policy and adjusting services were of a particular standard, quality, or

grade when th§y__were of another, in violation of section l7.46(b)(7) of the DTPA.

Mt. Hawley 1Insurance Company advertised the Policy and adjusting services with

the intern not to sell them as advertised, in violation of section l7.46(b)(9) of the

DTPA-

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" Mt. Hawley lnsurance Company breached an express warranty that the damages

caused by wind and hail would be covered under the Policy. This breach entitles

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Plaintiff to recover under sections l7.46(b) (12) and (20) and l7.50(a) (2) of the
DTPA.

F. Mt. Hawley Insurance Company’s actions are unconscionable in that Mt. Hawley
Insurance Company took advantage of Plaintif`f’s lack of knowledge,_ability, and
experience to a grossly unfair degree Mt. Hawley Insu‘r@e l Company’s
unconscionable conduct gives Plaintiff a right to relief undi§r\section l7.50(a) (3)
of the DTPA; and

G. Mt. Hawley Insurance Company’s conduct, acts, omissions, and failures, as
described in this petition, are unfair practices iii the business of insurance in
violation of section l7.50(a)(4) of the DTPA.

Each of the above-described acts, omissions, and failures of Mt. Hawley Insurance

Company is a producing cause of Plai>%tiff:'s damages All of Mt. Hawley Insurance

Company’s acts, omissions, and fail_®s were committed “knowingly” and “intentionally,”

as defined by the Texas Decep i-§e(;l`rade Practices Act.

CAUSES OF ACTION A_(_@ST DEFENDANT KEVIN WILSON MAYFIELD

NONCOMPLI CE WITH THE TEXAS INSURANCE CODE:
AIR SETTLEMENT PRACTICES

All allegations a§ef/e are incorporated herein.

Mayfield__’s conduct constitutes multiple violations of the Texas lnsurance Code, Unfair
Claim S;trl\ement Practices Act. TEX. INS. CODE §541.060(a).

Mayfield is individually liable for his unfair and deceptive acts, irrespective of the fact that
he was acting on behalf of AmGUARD, because Mayfield is a “person,” as defined by
TEX. INS. CODE §541.002(2).

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Mayfield knowingly underestimated the amount of damage to the Property. AS such,
Mayfield failed to adopt and implement reasonable standards for the investigation of the
claim arising under the Policy, TEX. INS. CODE §542.003(3).
Furthermore, Mayfield did not attempt in good faith to affect a fair, prompt, land equitable
settlement of the claim. TEX. INS. CODE §542.003(4). `
Mayfield’s unfair settlement practice of failing to provide Plaintiff a prompt and reasonable
explanation of the basis in the Policy, in relation to the facts or;p“plicable law, for partial
denial of the claim, also constitutes an unfair method of competition and an unfair and
deceptive act or practice TEX. INS. CODE §541.060'®)€3).
Mayfield’s unfair settlement practice of failing __toa;_t_tempt in good faith to make a prompt,
fair, and equitable settlement of the claim even though liability under the Policy was
reasonably clear, constitutes an unfair line hod of competition and a deceptive act or
practice in the business of insuranc,§/.d""fEX. lNS. CODE §541.060(a)(2)(A).

D_l__;PA VIOLATIONS
All allegations above are in§omorated herein.
Mayfield’s conduct constitutes multiple violations of the Texas Deceptive Trade Practices
Act (“DTPA”), TEX>. BUS. & COM. CODE l7.41_63. Plaintiffs are consumers of goods
and services prquided by Savoy pursuant to the DTPA. Plaintiffs have met all conditions
preceden¥j`:te bringing this cause of action against Mayfield. Specifically, Mayfield’s
violations of the DTPA include the following matters:
A. ll - By this Defendant’s acts, omissions, failures, and conduct, Mayfield has violated

sections l7.46(b)(2), (5), and (7) of the DTPA. Savoy’s violations include, (l)

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failure to give Plaintiff the benefit of the doubt, and (2) failure to write up an
estimate reflecting the proper repair of Plaintiff’s Property when liability have
become reasonably clear, which gives Plaintiff the right to recover under section
17.46(b)(2).

B. Mayfield represented to Plaintiff that the Policy and his adjusti_r_}_g__<§=rd investigative
services had characteristics or benefits they did not possess which gives Plaintiff
the right to recover under section l7.46(b)(5) of the D133;Ar

C. Mayfield represented to Plaintiff that the Policy an___d<h`s adjusting services were of
a particular standard, quality, or grade when lfejiwere of another, in violation of
section l7.46(b)(7) of the DTPA.

D. Mayfield’s actions are unconscionabfe`in that Savoy took advantage of Plaintiff’s
lack of knowledge ability, and §§;ence to a grossly unfair degree Mayfield’s
unconscionable conduct giv;e_§ 'I;laintiff a right to relief under section l7.50(a)(3) of
the DTPA; and

E. Mayfield’s conducf§§acts, omissions, and failures, as described in this petition, are
unfair practicesl rn the business of insurance in violation of section l7.50(a)(4) of
the DTPA; §§

Each of Maoyf§§d’s above-described acts, omissions, and failures is a producing cause of

Plaintif§t§:§a»mages All acts, omissions, and failures were committed “knowingly” and

“in nt§bnally” by Mayfield, as defined by the Texas Deceptive Trade Practices Act. TEX.

BUS. & COM. CODE l7.45.

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KNOWLEDGE
Defendants made each of the acts described above, together and singularly, “knowingly,”
as defined in the Texas Insurance Code, and each was a producing cause of Plaintiff’ s
damages described herein.
WAIVER AND ESTOPPEL
Defendants waived and are estopped from asserting any coverage `::lefenses, conditions,
exclusions, or exceptions to coverage not contained in any reservation of rights letter to
Plaintiff.
I)AMAGES
The damages caused to the Property have not been\properly addressed or repaired since the
claim was made, causing further damage to the-.Property, and undue hardship and burden
to Plaintiff. These damages are a direct”)\@sult of Defendants’ mishandling of Plaintiff’s
claims in violation of the laws set forth above
Plaintiff currently estimates that actual damages to the Property under the Policy are
$488,323.87.
Plaintiff would show; that all of the aforementioned acts, taken together or singularly,
constitute the pr<odiicri‘rg causes of the damages sustained The above described acts,
omissions, fai_l§_ljrfes, and conduct of Defendants have caused Plaintiff’s damages, which
include,_ti§i§ithout limitation, the cost to properly repair Plaintiff’s Property and any
inyes§(“@ative and engineering fees incurred.

F or breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is the

amount of his claims, consequential damages, together with attorney’s fees

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F or noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement Practices,
Plaintiff is entitled to actual damages, which include the loss of benefits owed pursuant to
the Policy, mental anguish, court costs, and attorney’s fees For knowing and intentional
conduct of the acts described above, Plaintiff asks for three (3) times his actual damages
TEX. INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(b)t15=/ il

For noncompliance with Texas Insurance Code, Prompt Payment bf- Claims, Plaintiff is
entitled to the amount of his claims, plus an eighteen percent (l<§i;$) per annum penalty on
those claims, as damages, as well as pre-judgment interest and reasonable attorney’s fees
TEX. INS. CODE §542_060.

For breach of the common law duty of good fa'tlif_and fair dealing, Plaintiff is entitled to
compensatory damages, including all forms ofloss resulting from Defendants’ breach of
duty, such as additional costs, econolmic§hardship, losses due to the nonpayment of the
amount Mt. Hawley lnsurance Can\pany owed, exemplary damages, and damages for
emotional distress

Defendants’ breach of the g§§nrmon law duty of good faith and fair dealing was committed
intentionally, with a _c§:_t_nscious indifference to Plaintiff” s rights and welfare, and with
“malice,” as thatl@(iis'defined in Chapter 41 of the Texas Civil Practices and Remedies
Code. These vii,qlations are the type of conduct which the State of Texas protects its citizens
against bathe imposition of exemplary damages Therefore, Plaintiff seeks the recovery
of;ex§:§iplaq damages in an amount determined by the finder of fact sufficient to punish
Defendants for their wrongful conduct, and to set an example to deter Defendants and

others from committing similar acts in the future

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For the prosecution and collection of this claim, Plaintiff has been compelled to engage the
services of the attorneys subscribed to this pleading Therefore, under Chapter 38 of the
Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance
Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover al sum for the
reasonable and necessary services of Plaintiff’ s attorneys in the preparatr@n,d trial of this
action, including any appeals to the Court of Appeals and/or the Suj§reme Court of Texas.
As required by Rule 47(b) of the Texas Rules of Civil Procedur_-e:'Maintiff" s counsel states
that the damages sought are in an amount within the jurisd'éctidnal limits of this Court As
required by Rule 47(0)(4) of the Texas Rules of Civil B_Locedure, Plaintiff’ s counsel states
that Plaintiff seeks only monetary relief of no less-than $1,000,000.00, including damages
of any kind, penalties costs, expenses, pre-ju§nrent interest, and attorney fees A jury will
ultimately determine the monetary relief“)\:§tually awarded, however. Plaintiff also seeks
pre-judgment and post-judgment intYe`st at the highest legal rate

REQUE_§r§ FoR DrscLosURr:
Under Texas Rules of 961 Procedure 190 and 194, Plaintiff requests that Defendants
disclose, within fifty (5__{_1~) days from the date this request is served, the information or material
described in Rules nf‘;DP.Z((b)(® and 194 2.
j il JURY DEMAND
Plaintiff§®eby requests a jury trial for all causes of action alleged herein, tried before a

ju§e@sisting of citizens residing in Fort Bend County, Texas. Plaintiff hereby tenders

the appropriate jury fee

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PRAYER
Plaintiff, Greatland Investment, Inc. d/b/a Southwest Plaza, prays that Defendant, Mt.
Hawley Insurance Company, Inc. and Kevin Wilson Mayfield, be cited and served to appear, and
that upon trial hereof, Plaintiff, Greatland Investment, Inc. d/b/a Southwest Plaza_,_\recover from
Defendants, Mt. Hawley Insurance Company and Kevin Wilson Mayfield, sticb?%ums as would
reasonably and justly compensate Plaintiff in accordance with the rules of law and procedure, as
to actual, consequential, and treble damages under the Texas Insurange/,ébde and Texas Deceptive
Trade Practices Act, and all punitive additional, and exemplary damages as may be found. ln
addition, Plaintiff requests the award of attorney’s fees for th tg§l and any appeal of this case, for
all costs of Court expended on Plaintiff’s behalf, for pre-judgment and post-judgment interest as
allowed by law, and for any other relief, at law or iri equity, to which Plaintiff may show itself
justly entitled
Respectfully submitted,
CHAD T. WrLsoN LAw FIRM PLLC
13ny
Chad T. Wilson
Bar No. 24079587
Patrick C. McGinnis
Bar No. 13631900
455 E Medical Center Blvd, Ste 555
Webster, Texas 77598
Telephone; (832) 415-1432
Facsimile: (281) 940-2137
eService to:
eservice@cwilsonlaw.com
cwilson@cwilsonlaw.com
pmcginnis@cwilsonlaw.com

ATroRNEYs FoR PLArNirFF

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Exhibit B-Z

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4/3/2019 2:32 PM
Mari|yn Burgess - District C|erk Harris County
Enve|ope No. 32477257

By: Anna Evetts

Filed; 4/3/2019 2132 PM

CAUSE NO. 2019-16063

GREATLAND INVESTMENT, INC. ) fN THE DISTRICT COURT
d/b/a SOUTHWEST PLAZA )
)
V. ) l33RD DISTRICT COURT
)
MT. HAWLEY INSURANCE COMPANY )
And KEVIN WILSON MAYFIELD ) HARRIS COUNTY, TEXAS

MT. HAWLEY INSURANCE COMPANY’S ORIGINAL ANSWER AND
AFFIRMATIVE DEFENSES

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Mt. Hawley Insurance Company, Defendant in the above-entitled and
numbered cause, filing this Original Answer and Affirmative Defenses to Plaintiff’s Original
Petition, and would respectfully show the Court as follows:

I. GENERAL DENIAL

Defendant denies all and singular the allegations contained in Plaintiff’s Origina| Petition
and demands strict proof thereof.

II. AFFIRMATIVE DEFENSES

First Aj]irmative Defense

The Policy provides potential coverage for direct physical loss of or damage to Plaintiffs
Covered Property exceeding the Policy deductible that is caused by or resulting from a Covered
Cause of Loss, subject to all terms, conditions, limitations and exclusions of the Policy, See
Policy, BUILDING AND PERSONAL PROPERTY COVERAGE FORM, A.
COVERAGE; D. Deductible. There was no direct physical loss of or damage to Plaintiffs
Covered Property that was caused by a Covered Cause of Loss, let alone damage exceeding the

Policy deductible

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Second Aj]irmative Defense

The Policy does not provide coverage for loss or damage to the interior of Plaintiff"s
building caused by rain or water, unless the building first sustains wind or hail damage to its roof
or walls through which rain or water enters See Policy, CAUSES OF LOSS - SPECIAL
FORM, C.l.c. Any interior water damage did not result from any openings created by Winds or
hail from Hurricane Harvey. As such, there is no coverage for any claimed interior water
damage under the Policy.

Third Aj]irmative Defense

Plaintiff seeks recovery in this case for property damage resulting from an aged and
poorly detailed building envelope system, inadequate drainage, longstanding leakage issues, and
inadequate/deteriorated prior repairs Such damage is excluded by the Policy. See Policy,
CAUSES OF LOSS - SPECIAL FORM, B.3.c.

Fourth Affirmative Defense

Plaintiff seeks recovery in this case for property damage resulting from wear and tear,
pre-existing mechanical damage, pre-existing rust or other corrosion, decay, deterioration,
hidden or latent defect, or qualities in the property that caused it to damage or destroy itself, and
settling, cracking, shrinking or expansion. Such damage is excluded by the Policy. See Policy,
CAUSES OF LOSS - SPECIAL FORM, B.Z.d.

Fifth Aj]irmative Defense

Plaintiff alleges that no substantive repairs have been made The Policy provides that
payment will not be made on a replacement cost basis for any loss or damage (l) until the lost or

damaged property is actually repaired or replaced; and (2) unless the repairs or replacement are

DEFENDANT’S omGrNAL ANSWER AND AFFIRMATIVE DEFENSES - Page 2
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made as soon as reasonably possible after the loss or damage See Policy, BUILDING AND
PERSONAL PROPERTY COVERAGE FORM, G.3.d.

Sixth Affirmative Defense

To the extent that Plaintiff asserts that there were unreasonable delays in the handling of
its claim, such delays were caused by Plaintiff or its representatives

WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing
by its suit and that Defendant be awarded such other and further relief to which it is justly

entitled.

Respectfully submitted,

/s/ Gre£ K. Winslett

GREG K. WINSLETT

State Bar No. 21781900
ANTHONY W. KIRKWOOD
State Bar No. 24032508
QUILLING, SELANDER, LOWNDS,
WINSLETT & MOSER, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 75201

(214) 871-2100
(214)871-2111(Fax)
gwinslett@qslwm.com
tkirkwood@qslwm.com

ATTORNEYS FOR DEFENDANT

DEFENDANT`S ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES - Page 3
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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing instrument is
being served upon counsel for Plaintiff, via TexFile, facsimile or U.S. Mail in accordance with
the Texas Rules of Civil Procedure, on this 3rd day of April 2019, as follows:

Chad T. Wilson

Patrick C. McGinnis

Chad T. Wilson Law Firm PLLC

455 E. Medical Center Bldg., Suite 555

Webster, TX 77598

281-940-2137 (fax)

cscr\iceuc\vilsonla\\.com; c\xi|.‘on lcx\ilsrn|a\ .com; pnrc~giirriisrfric\\fi|sonlaw.c()m

Attorneys for Plaintiff

 

/s/Anthonv W. Kirkwood
Anthony W. Kirkwood

DEFENDANT’$ oRrGrNAL ANSWER AND AFFrRMATrvE DEFENSES - Page 4
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Exhibit C

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
GREATLAND INVESTMENT, INC. §
d/b/a SOUTHWEST PLAZA §
§
V. § Case No.
§
MT. HAWLEY INSURANCE COMPANY §
And KEVIN WILSON MAYFIELD §

 

LIST OF COUNSEL OF RECORD

 

Counsel for Plaintiff

Chad T. Wilson

Patrick C. McGinnis

Chad T. Wilson Law Firm PLLC
455 E. Medical Center Bldg., Suite 555
Webster, TX 77598
832-415-1432 (telephone)
281-940-2137 (fax)
eService(d-‘cwilsonlaw.com
cwilson(a.'cwilsonla\~ .com
pmcginnis@cwilsonlaw.conr

Counsel for Defendants Mt. Hawley Insurance Company and KeviLr Wilsfon Mayfield
Greg K. Winslett

Anthony W. Kirkwood

Quilling, Selander, Lownds, Winslett & Moser, PC
2001 Bryan Street

Suite 1800

Dallas, TX 75201

(214) 871-2100 (telephone)

(214)871-2111(fax)

gwinslett@qslwm.com
tkirkwood@g slwm.com

 

LIST OF COUNSEL OF RECORD
[3691089v1]

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Exhibit D

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
GREATLAND INVESTMENT, INC. §
d/b/a SOUTHWEST PLAZA §
§
V. § Case No.
§
MT. HAWLEY INSURANCE COMPANY §
And KEVIN WILSON MAYFIELD §

 

INDEX OF STATE COURT DOCUMENTS

 

 

Date Filed
No. or Entered Document
A N/A State Court Docket

B-l 03/05/2019 Plaintiff’s Original Petition for Relief

B-2 04/03/2019 Mt. Hawley’s Original Answer and Affirmative Defenses
C N/A List of Counsel of Record
D N/A Index of State Court Documents

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